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                    Exhibit no. 9
         Articles 409, 410, and 411
    of the Lebanese Code of Commerce
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Articles 409, 410, and 411 of the Lebanese Code of Commerce

Article 409:

The check contains:

   1- The denomination of ‘check’ included in the text of the instrument itself and expressed in
      the language used for making the instrument;

   2- The pure and simple order to pay a determined sum;

   3- The name of the person who has to pay (drawee);

   4- The place where payment is to be made;

   5- The date and place where the check is made;

   6- The signature of the person who issued the check (drawer).

Article 410:

The instrument in which one of the statements indicated in the preceding article is missing is not
valid as a check, except in those cases as are determined in the following paragraphs.

In the absence of a special indication, the place designated beside the name of the drawee is
deemed to be the place of payment. If several places are indicated beside the name of the drawee,
the check is payable in the first place that is indicated.

In the absence of these indications or any other indication, the check is payable at the place
where the drawee has his main establishment.

The check that has no indication of the place where it is made is considered as made at the place
designated beside the name of the drawer.

Article 411:

The cheque may only be drawn on a banker who holds, at the time when the check is made,
funds that are at the drawer’s disposal in accordance with an express or implied agreement under
which the drawer may dispose of such funds by issuing checks.
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